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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

MICHAEL MCGREGOR, ZACHARY GIAMBALVO,
PAUL FELICE, MATTHEW OLIVIERI, EDWARD
NEWMAN, and DARK STORM INDUSTRIES, LLC,

                        Plaintiffs,
                                                                Case No.: 2:23-CV-01130
                        -against-
                                                                (Brown, J.)(Lindsay, M.J.)
SUFFOLK COUNTY, New York, Police Commissioner
RODNEY HARRISON, in his Official Capacity, and
Acting Superintendent STEVEN NIGRELLI,
in his Official Capacity,

                        Defendants.
                        ---------------------------------- X




 DEFENDANT SUPERINTENDENT NIGRELLI’S MEMORANDUM OF LAW IN
     OPPOSITION TO PLAINTIFFS’ MOTION FOR A PRELIMINARY
                         INJUNCTION


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         Defendant Steven Nigrelli, sued in his official capacity as Acting Superintendent of the

New York State Police (the “Superintendent”), respectfully submits this memorandum of law,

together with the Declaration of Assistant Attorney General Patricia M. Hingerton (“HD”), with

 exhibits, and the Declaration of Robert J. Spitzer, Ph.D. (“Spitzer Dec!.”), with exhibits, in

 opposition to that portion of the motion for a preliminary injunction filed by Plaintiffs Michael

 McGregor, Zachary Giambalvo, Paul Felice, Matthew Olivieri, Edward Newman, and Dark Storm

 Industries, LLC (“Dark Storm,” and collectively, “Plaintiffs”) that seeks to enjoin the

 Superintendent from enforcing New York’s semiautomatic rifle licensing law.

                                      PRELIMINARY STATEMENT

         Plaintiffs—four individuals, a company that sells firearms, and that company’s owner—

 filed their Complaint on February 10, 2023 claiming violations of their Second and Fourteenth

 Amendment rights under 42 U.S.C. § 1983 arising from the statutory requirement under Penal Law

 § 400.00 that a person obtain a license to purchase or otherwise take possession of a semiautomatic

 rifle incident to a transfer of ownership (the “Rifle Law”), as well as Suffolk County’s procedures

 related to the implementation of this law and licensing of such rifles.1 Although the Rifle Law

 was enacted in June 2022 and became effective in September 2022, Plaintiffs waited months to

 file this action, and then waited even longer to bring the instant application, belatedly proclaiming

 their entitlement to not only a temporary restraining order and preliminary injunction, but the

 extraordinary relief of a permanent injunction as well. See Memorandum of Law in Support of

 Plaintiffs’ Application for a Preliminary Injunction (“PI. MOL”), p. 6.

         As was the case in Giambalvo v. Suffolk County, 2023 U.S. Dist. Lexis 27304 (E.D.N.Y.

 Feb. 14, 2023)—-a case brought by two of the same Plaintiffs, represented by the same attorney—


 1The Superintendent has no knowledge of, or control over, Suffolk County’s procedures, and takes no position as to
 whether or not those procedures comply with state and/or federal law.

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this Court should yet again find that none of the Plaintiffs can satisfy “the demanding requisites

for preliminary relief,” id. at *2. First, Plaintiffs have no likelihood of success on the merits of

their claims: The individual Plaintiffs lack standing to challenge the Rifle Law, and Dark Storm

and its owner have no plausible claim because the Second Amendment does not apply to business

organizations, or to individuals engaged in the commercial sale of firearms. Yet, even if the Court

is inclined to reach the merits of the facial constitutional challenge, Plaintiffs still have no

likelihood of success on their claim because the statutory provisions at issue fully comport with

the Supreme Court’s decision in New York State Rifle & Pistol Association v. Bruen, 142 S. Ct.

2111 (2022), which was rendered following enactment of the Rifle Law, and the Rifle Law is

 supported by American legal history and tradition. Second, Plaintiffs fail to make a strong showing

 of imminent and irreparable harm—particularly given their unexplained delay in challenging a

purportedly unconstitutional statute that was enacted months before they filed suit and sought

relief—let alone any harm attributable to the statutory provisions they challenge. Third, the

equities clearly weigh against interim injunctive relief and heavily in favor of New York’s duty to

keep weapons out of the hands of those who may use them to harm others. Plaintiffs’ application,

therefore, should be denied in its entirety.

                                               BACKGROUND

        A. The Rifle Law

        The licensing requirement for semiautomatic rifles was enacted into law on June 6, 2022

 (eff. Sept. 4,2022) and was part of a comprehensive ten-bill legislative package that was aimed at

 closing critical gun law loopholes exposed in the tragic shootings in Buffalo and Uvalde. See 2022

 NY    Law     ch.   371    §   2   (codified   at,   inter   alia,   Penal   Law   §   400.00(2));

 https://www.govemor.nv.gov/news/govemor-hochul-signs-landmark-legislative-package-



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strengthen-gun-laws-and-protect-new-vorkers. As relevant here, the law requires that “a license

for a semiautomatic rifle... shall be issued to purchase or take possession of such a firearm when

such transfer of ownership occurs on or after” September 4, 2022, Penal Law § 400.00(2),2 and

imposes criminal and other penalties on those who violate the statute, Penal Law §§ 265.65,

265.66. Amendments to licenses are addressed in Penal Law § 400.00(9), which provides that

current licensees can add semiautomatic rifles to their licenses or delete them therefrom by

applying to their local licensing official.3 See also 2022 N.Y. Laws ch.212 § 8 (“This act... shall

apply only to purchases or transfers of ownership made on or after [the] effective date” of the

statute). If the application is granted, the licensing official is required to file a record of the

amendment with the State Police. Penal Law § 400.00(9).

         The State Police and the State Division of Criminal Justice Services have issued guidance

to individuals on complying with this law, see N.Y. Div. of Crim. Just. Servs., Frequently Asked

Questions Regarding Recent Changes to New York State Firearms Laws (Aug. 27, 2022) (HD,

Exh. I),4 and as this information is not subject to reasonable dispute and found on official

government websites whose accuracy cannot reasonably be questioned, the Court may take judicial

notice of it. See Hoffman v. Kraft Heinz Foods Co., 2023 U.S. Dist. Lexis 20929, at *6 n.l

(S.D.N.Y. Feb. 7,2023); Fed. R. Evid. 201(b). That guidance provides, in pertinent part, that any

person that lawfully possesses a semiautomatic rifle prior to September 4, 2022 is not required to




2 The eligibility requirements for obtaining such a license are detailed in Penal Law § 400.00(1), which was drafted
“to align with the Supreme Court’s recent decision in WBruen” Press Release, July 1, 2022, available at
https://on.nv.gov/3BM6Hz7. Plaintiffs McGregor and Giambalvo are challenging these requirements as they relate
to concealed carry handguns in Giambalvo v. Suffolk County, Docket No.: 2:22-cv-0478. On February 14,2023, this
Court denied plaintiffs’ application for a preliminary injunction, stating that they “failed to meet the exacting standard
for issuance of a preliminary injunction.” 2023 U.S. Dist. Lexis 27304, at *23.
3 The licensing official in Suffolk County is “the sheriff of that county except in the towns of Babylon, Brookhaven,
Huntington, Islip and Smithtown, the commissioner of police of that county[.]” Penal Law § 265.00(10).
4 See also N.Y. State Police, Frequently Asked Questions for Firearm Dealers Regarding Recent Changes to New
York Firearm Laws (Dec. 6,2022) (HD, Exh. 2).

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 obtain a semiautomatic rifle license in order to retain possession of it. Id. at Q20. Instead, such a

 license is only required “to purchase or take ownership of a semi-automatic rifle on or after

 September 4, 2022.” Id. at Q19; see also https://gunsafetv.nv.gov/frequentlv-asked-questions-

 new-concealed-carry-law (“A Semi-Automatic Rifle License is required to purchase or take

 ownership of a semiautomatic rifle on or after September 4, 2022.... The Semi-Automatic Rifle

 License is only required for persons acquiring a semiautomatic rifle on or after September 4,

 2022.”).   The guidance further provides that existing firearm license holders can add a

 semiautomatic rifle to their firearm license through their local licensing officer. Id.

        B. The Instant Application

        On February 17, 2023—36 weeks after the Rifle Law was enacted and 23 weeks after it

 went into effect—Plaintiffs moved by Order to Show Cause seeking a temporary restraining order

 and a preliminary injunction enjoining Defendants from enforcing the law. The Superintendent

 opposed Plaintiffs’ request for relief and asked this Court for the opportunity to brief the issues

 raised in Plaintiffs’ motion. ECF No. 8. By Order dated February 21, 2023, this Court granted

 the Superintendent’s application, refusing to endorse any request for immediate temporary relief

 and stating that a 45-day briefing schedule was appropriate given that Plaintiffs waited months

 before filing this motion, as well as observing that the Giambalvo decision “may affect the pending

 application.” Scheduling Order dated February 21,2023. The briefing schedule was later extended

 again, and the Superintendent was granted an extension of pages for this memorandum. See Order

 dated March 29,2023.

         The supporting declarations submitted by Plaintiffs allege, in relevant part, as follows:

         Plaintiff McGregor, who has a handgun license, avers that he intends to purchase and, at

 an unspecified time, actually attempted to purchase a Ruger 10/22 semiautomatic rifle from two



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 nonparty dealers, who advised him that he could not do so because he does not have a

 semiautomatic rifle license and/or a semiautomatic rifle endorsement on his handgun license. See

 McGregor Decl.,      5-10. McGregor contacted the Suffolk County Police Department (“SCPD”)

 Licensing Bureau to inquire about the process for obtaining a semiautomatic rifle license,

 informing them that dealers would not sell him a semiautomatic rifle without a rifle license, and

 that State Police guidance indicated that the semiautomatic endorsement should be available by

 amending a handgun license. Id. at ][ 11. SCPD, however, allegedly advised McGregor that it

 would not issue a rifle license or amend his handgun license because it considered a handgun

 license to be sufficient to purchase a semiautomatic rifle. After receiving this information,

 McGregor was allegedly advised—again, on an unspecified date—by another nonparty dealer that

 he could not purchase a rifle with a handgun license. Id. at YU 12,15-16. McGregor further claims

 that even if he could apply for a rifle license—which, purportedly, he cannot do, as SCPD is not

 issuing such licenses, id. at 116—he would have to wait “at least 2-3 years” because of SCPD’s

 processing delays. Id. at 19.

        Plaintiff Giambalvo, who has owned a semiautomatic rifle since before the enactment of

 the Rifle Law, but does not presently have a semiautomatic rifle license, avers that pre-Rifle Law,

 he and his father regularly went target shooting during which they would “take[] possession of’

 one another’s rifles to use recreationally at the Dark Storm gun range. Since enactment of the

 Rifle Law, Giambalvo claims that he can no longer go target shooting with his father “out of fear

 of being arrested and incarcerated” because Suffolk County and other unidentified “law

 enforcement officers” shoot there. See Giambalvo Deck, Yi 4-7, 10, 12. Giambalvo also went

 target shooting with friends pre-Rifle Law, where they would “take possession of’ one another’s

 rifles to engage in recreational target shooting; and he intends to continue doing this twice a month



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 post-Rifle Law, even though he claims it is now illegal to do so. Id. at ^ 11-13. Significantly,

 however, Giambalvo does not state or otherwise claim that he, his father, or his friends are actually

 transferring legal ownership of their rifles when they temporarily take possession of the rifle(s) to

 use at the gun range. Giambalvo further avers that he intends, at an unspecified time, to purchase

 an unspecified World War II-era semiautomatic rifle from an unspecified dealer outside of New

 York, but cannot because SCPD does not have a license process in place, and even if it did, he

 objects to having to obtain a license. Id. at   14-17.

        Plaintiff Felice, who has also owned a semiautomatic rifle since before the enactment of

 the Rifle Law, avers that pre-Rifle Law he enjoyed going target shooting with friends, who also

 took turns shooting with one another’s rifles. See Felice Deck, fflj 4-6. But because none of them

 currently hold a semiautomatic rifle license, Felice claims that he is now barred from engaging in

 this conduct. Id. at 16. Like Giambalvo, however, Felice does not state or otherwise claim that

 he and/or his friends are actually transferring legal ownership of their rifles when they are using

 them at the gun range. Felice also avers that he intends, at an unspecified date, to purchase an

 unspecified Black Rain Ordnance semiautomatic rifle, but that he does not intend to apply for a

 license. Id. at    7-8. Despite his complaints, Felice makes no contentions at all concerning or

 referring to any threat of arrest or criminal prosecution, regardless of whether such actions would

 be taken by SCPD or the New York State Police.

         Plaintiff Olivieri, who is not licensed and does not own a semiautomatic rifle, avers that

 pre-Rifle Law, he would go target shooting with his father and they would share his father’s rifle.

 He claims that both he and his father could be arrested and subjected to other penalties if they

 continue such conduct post-Rifle Law. See Olivieri Deck,        5-7. Yet, like both Giambalvo and

 Felice, Oliveri does not state or otherwise claim that he is actually taking legal ownership of his



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 father’s rifle when he uses it at the gun range; instead, Oliveri’s statement seem to make clear that

 a legal transfer of ownership of his father’s rifle is not happening. Id. f 6 (alleging that it “is a

 crime for my father to give (hand over) his semiautomatic rifle to me to use”). Olivieri further

 avers that he intends, at an unspecified time, to purchase an unspecified AR-15 platform

 semiautomatic rifle, but that he cannot since SCPD has no licensing process, and even if they did,

 he feels he should not have to obtain a license. Id. at ]fl[ 8-10. And notwithstanding that he does

 not have a license to begin with, Olivieri also objects to having to register his firearms on a license.

 Id. at If 11.     Despite his complaints, Felice makes no factual contentions at all concerning or

 referring to any threat of arrest or criminal prosecution, regardless of whether such actions would

 be taken by SCPD or the New York State Police, beyond a general and conclusory statement to

 this effect in *|f 7.

          Plaintiff Newman is the owner and operator of Plaintiff Dark Storm, a limited liability

 company that is licensed to manufacture and sell semiautomatic rifles. See Newman Decl.,              3-

 4. Following the enactment and effective date of the Rifle Law, Dark Storm claims that it stopped

 selling semiautomatic rifles to the general public. It recently resumed such sales, although it can

 no longer sell or transfer semiautomatic rifles to its customers and potential customers who have

 not obtained a rifle license. Id. at   6-10. According to Newman, Dark Storm is prohibited from

 selling and transferring semiautomatic rifles to Suffolk County customers and potential customers

 because of the Rifle Law, SCPD’s licensing policy, and enforcement of the Rifle Law by SCPD

 and the State Police. Id. at      11-17. Newman’s declaration refers in general to “the Rifle Bill

 and the enforcement thereof by SCPD and the NYSP,” Id. at Tf 17; see also id. at ^ 7 (“the Rifle

 Bill as enforced by ... the New York State Police”), but does not actually identify any specific

 policy or action taken by the State Police that has affected him or his business.



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                                          STANDARD OF REVIEW

         “It is axiomatic that a preliminary injunction represents an extraordinary exercise of the

 court’s authority and thus requires an exacting showing.” Giambalvo, 2023 U.S. Dist. Lexis

 27304, at * 9. Indeed, a preliminary injunction is “an extraordinary remedy never awarded as of

 right.” Winter v. NRDC, Inc., 555 U.S. 7, 24 (2008). The burden is on Plaintiffs to establish that

 (1) they are likely to succeed on the merits; (2) they are likely to suffer irreparable harm in the

 absence of preliminary relief; (3) the balance of equities tips in their favor; and (4) an injunction

 is in the public interest. Id. at 20; We The Patriots USA, Inc. v. Hochul, 17 F.4th 266, 279-80 (2d

 Cir. 2021). The final two factors—the balance of the equities and the public interest—“merge

 when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418,435 (2009).5

          Where, as here, plaintiffs ask the Court to enjoin the enforcement of a duly enacted statute,

 plaintiffs must make “a heightened showing ... consistent with the principle that ‘governmental

 policies implemented through legislation... are entitled to a higher degree of deference and should

 not be enjoined lightly.”’ Able v. United States, 44 F.3d 128, 131 (2d Cir. 1995). Plaintiffs must

 show a “clear” or “substantial” likelihood of success on the merits and make a “strong showing”

 of irreparable harm. People ex. rel. Schneiderman v. Actavis PLLC, 787 F.3d 638, 650 (2d Cir.

 2015). As discussed below, Plaintiffs have not made the requisite showing.




 5 Plaintiffs claim that balancing the equities “is no longer viable in the context of a Second Amendment challenge,”
 PI. MOL, p.19, but this Court made clear in Giambalvo that the applicable standard for an award of a preliminary
 injunction continues to require movants to show that the balance of the equities weighs in their favor. 2023 U.S. Dist.
 Lexis 27304, at *10.

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                                                  ARGUMENT

 POINT I: PLAINTIFFS GIAMBALVQ. OLIVIERI. FELICE. AND MCGREGOR LACK
 STANDING TO CHALLENGE THE RIFLE LAW

          Unless a plaintiff has Article III standing, a court lacks subject matter jurisdiction to hear

 his claim. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). To establish Article III

 standing, a plaintiff bears the burden of establishing three “irreducible constitutional minimum”

 elements. Id. at 560. “The plaintiff must have (1) suffered an injury in fact, (2) that is fairly

 traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by a

 favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330,338 (2016). “[A] plaintiff must

 demonstrate standing for each claim he seeks to press and for each form of relief that is sought.”

 Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645,1650 (2017).

          A. Plaintiffs Giambalvo. Felice, and Olivieri Lack “Iniurv-in Fact”

          Giambalvo, Felice, and Olivieri lack standing for numerous reasons related to their failure

 to allege injury-in-fact.6 First, none of these Plaintiffs has “complied with the requisites of [the

 State’s licensing] system,” which is required to establish standing. Giambalvo, 2023 U.S. Dist.

 Lexis 27304 at *13 (citing United States v. Decastro, 682 F. 3d 160, 164 (2d Cir. 2012), cert,

 denied, 568 U.S. 1092 (2013)). Plaintiffs claim that SCPD does not have a process in place to

 obtain a semiautomatic rifle license separate and apart from a license for handguns, but even if the




 6 The Superintendent does not concede that McGregor has suffered any injury in fact, particularly any injury
 attributable to the Superintendent, as opposed to purported injury caused by Suffolk County or third-party gun stores.
 Nevertheless, any injury in fact seems dubious at best because various gun stores, including Camp-Site Sport Shop
 and Karp’s Hardware/Long Island Ammo, have publicly acknowledged that they are aware of and selling
 semiautomatic rifles in compliance with the SCPD’s announced policy and procedure.                                See
 https://www.longislandgunchib.com/forum/licensing/suffolk/867805-semi-auto-rifle-license:
 https://www.campsitesportshop.com/firearm-licenses. In this regard, it is notable that McGregor’s declaration does
 not provide details about when he attempted to purchase the semiautomatic rifle from these stores.

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 process is the same, Giambalvo,7 Felice, and Olivieri have not alleged that they have applied for

 such a license. In fact, they object to having to apply in the first place. See Giambalvo Decl., If

 17 (“I object to having to apply for and obtain” a semiautomatic rifle license); Felice Decl., 18 (“I

 do not have, nor do I intend to apply for,” a semiautomatic rifle license); Olivieri Decl., ]f 10 (“I

 should not have to seek and obtain” a semiautomatic rifle license).

         As concerns any challenge to the portion of the Rifle Law that allegedly requires

 registration of semiautomatic rifles on a license, the State Police have taken the position that the

 Rifle Law does not require this kind of registration to begin with. See HD, Exh. 2, p.3. In any

 event, Olivieri is the only Plaintiff who complains about this, yet given that Olivieri has not even

 applied for a license, he clearly has no standing to challenge the law. Olivieri Decl., ^ 11.

          Since these Plaintiffs have not applied for a license—much less been denied one—they

 have not yet suffered the injury-in-fact required for standing, which is fatal to their claim. See

 Libertarian Party ofErie Cnty. v. Cuomo, 970 F.3d 106,122 (2d Cir. 2020), abrogated in part on

 other grounds by Bruen, 142 S. Ct. 2111 (only plaintiffs who had their applications denied alleged

 an injury-in-fact);8 Decastro, 682 F. 3d at 164 (holding that plaintiff who failed to apply for a New

 York gun license lacked standing to challenge the state’s licensing laws); Giambalvo, 2023 U.S.

 Dist. Lexis 27304, at *14 (“[Pjlaintiffs have undermined any showing of a likelihood of success

 on the merits as, due to their refusal to comply with the requisites of the licensing process, they




 7 The Superintendent is aware from the Giambalvo case, that Plaintiff Giambalvo has applied for a handgun cany
 permit, but as this Court already held, that was not sufficient to establish standing. See Giambalvo, 2023 U.S. Dist.
 Lexis 27304, at *11-15.
 8 The Bruen decision abrogated the Second Circuit’s decision in Libertarian Party, 970 F.3d 106, only to the extent
 Libertarian Party (1) upheld New York’s “proper cause” requirement under the Second Amendment; and
 (2) applied “means-ends” scrutiny to plaintiffs’ Second Amendment challenge. Bruen, 142 S. Ct. at 2127 & n.4. The
 Second Circuit’s decision otherwise remains controlling precedent, including its rulings relating to the circumstances
 in which an applicant for a firearms license may, or may not, have standing to sue.

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 cannot qualify for a permit, and the State can, consistent with the mandates of Bruen and Heller,

 deny their applications.”).

         Although an individual may also have standing if he is able to make a “substantial

 showing” that completing his application and obtaining a decision would be futile, Libertarian

 Party, 970 F.3d at 116, Plaintiffs here have not done so. A plaintiff may show futility where it is

 clear that his application would be denied based on immutable characteristics or, at the very least,

 characteristics that are not easily altered. See Int’l Bhd. of Teamsters v. United States, 431 U.S.

 324,365-66 (1977) (minority persons deterred by “Whites Only” employment policy would suffer

 injury); Bach v. Pataki, 408 F.3d 75, 82-83 (2d Cir. 2005) (plaintiffs application for a concealed

 carry license was futile where he was not a New York resident and thus statutorily ineligible),

 overruled on other grounds by, McDonald v. Chicago, 561 U.S. 742 (2010). In contrast, a plaintiff

 fails to demonstrate futility where he opts not to complete an application despite being able to do

 so. This is because “a plaintiff must submit to the challenged policy” and “[m]ere objection or

 antipathy to the law” does not constitute futility, which is all Giambalvo, Felice, and Olivieri have

 alleged here. Libertarian Party, 970 F.3d at 121,116; Jackson-Bey v. Hanslmaier, 115 F.3d 1091,

 1097-98 (2d Cir. 1997) (plaintiff did not show futility in challenge to prison’s religious worship

 policy where he did not complete a registration form but could have done so); Giambalvo, 2023

 U.S. Dist. Lexis 27304, at *14.9

          Second, Giambalvo, Felice, and Olivieri have not shown injury-in-fact related to their

 purported inability to purchase a semiautomatic rifle. While each of them has stated that he intends

 to purchase a semiautomatic rifle, none has described any “concrete plans” to do so. Nor have



 9 Nor can Plaintiffs create their own futility by unilaterally refusing to comply with legal requirements they dislike.
 See Williams v. King, 56 F. Supp. 3d 308, 326 (S.D.N.Y. 2014) (no standing where plaintiff “declined to comply with
 the policy ... and there is no evidence in the record to suggest that compliance would have been futile.”).

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 these Plaintiffs indicated when they intend to do so, or from whom they intend to purchase said

 rifle. See Giambalvo Decl., ^ 14; Felice Decl., If 7; Olivieri Decl., f 8. Such ‘“some day’

 intentions—without any description of concrete plans, or indeed even any specification when the

 some day will be—do not support a finding of the actual or imminent injury’ that is required.”

 Frey v. Bruen, 2022 U.S. Dist. Lexis 31053, at *12-13 (S.D.N.Y. Feb. 22, 2022) (plaintiffs

 challenging firearms law lack standing even when they alleged that they “intend to” carry firearms

 unlawfully, where they did not allege “concrete plans” to do so); Gazzola v. Hochul, 2022 U.S.

 Dist. Lexis 220168, at *12 (N.D.N.Y. Dec. 7, 2022) (refusing to find standing where plaintiff

 professed a desire to buy semiautomatic rifle but allegedly could not do so due to county’s

 purported failure to offer a license).

         Third, to the extent Giambalvo Felice, and Oliveri allege injury-in-fact flowing from their

 alleged inability to continue to “take possession” of semiautomatic rifles owned by their family

 members or friends while target shooting at a gun range, see Giambalvo Deck, Tflf 6-13; Felice

 Deck,     5-6; Olivieri Deck,      5-7, such claims completely misapprehend the Rifle Law.       As

 made clear by the plain language of the statute, as well as by the other information set out on

 official New York State websites, the license requirement applies to those who purchase or “take

 possession” of a semiautomatic rifle incident to a “transfer of ownership” of that weapon. See

 Penal Law § 400.00(2). The State Police’s guidance regarding the new laws likewise emphasizes

 that the license is used only “to purchase or take ownership of a semi-automatic rifle.” HD, Exh.

 2, p.5. The statute, therefore, simply does not prohibit one from temporarily using a semiautomatic

 rifle that remains legally owned by another person, and no Plaintiff has alleged that their use or

 possession of another person’s rifle at the gun range constitutes a change in legal ownership of that

 weapon.    These Plaintiffs’ injuries, therefore, do not actually exist; and are instead entirely



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 hypothetical and illusory, which does not suffice for purposes of Article III standing. See, e.g.,

 Spokeo, 136 S. Ct. at 1548 (“[I]njury must be de facto; that is, it must actually exist.”); Lujan, 504

 U.S. at 560 (injury must also be “actual or imminent, not conjectural or hypothetical”).

         B. Plaintiffs Have Not Demonstrated a Credible Threat of Arrest by the State Police

         Where, as here, a plaintiff is trying to challenge a statute that has never been enforced

 against him, he needs to allege facts establishing that “there exists a credible threat of prosecution

 thereunder.’” Frey, 2022 U.S. Dist. Lexis 31053, at *12 (quoting Adam v. Barr, 792 F. App’x 20,

 21-22 (2d Cir. 2019) (summary order)). To establish standing for a pre-enforcement challenge, an

 “allegation of future injury will be sufficient only if the threatened injury is certainly impending,

 or there is a substantial risk that the harm will occur.” Does v. Suffolk Cnty, 2022 U.S. App. Lexis

 19094, at *6 (2d Cir. July 12,2022). The imminence requirement is not “evident where plaintiffs

 do not claim that they have ever been threatened with prosecution, that a prosecution is likely, or

 even that a prosecution is remotely possible.” Id. (internal quotations omitted).

           Here, Giambalvo is the sole Plaintiff who alleges that he faces an “imminent risk of arrest

 and incarceration” by SCPD and State Police, allegedly because he has announced his intention to

 continue to briefly “take possession” of semiautomatic rifles legally owned by his friends while

 target shooting. See Giambalvo Deck,              11-13.10 But, as explained supra, this conduct is simply

 not prohibited by the Rifle Law. Moreover, Giambalvo has not alleged that he has been arrested

 in the past for engaging in such conduct, or that anyone—much less a member of the State Police—

 has threatened him with arrest or prosecution for such conduct. In the absence of such allegations,

 Giambalvo has failed to articulate a sufficiently tangible threat of arrest. See Giambalvo, 2023




 10 As mentioned supra, McGregor and Felice do not allege a threat of arrest or prosecution, and Olivieri does so only
 in the most cursory and conclusory terms.

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U.S. Dist. Lexis 27304, at *20-22 (holding that plaintiffs “lack standing, as they have failed to

articulate a sufficiently tangible threat of arrest”).

         C. Plaintiffs’ Alleged Injuries are Neither Fairly Traceable to the Rifle Law Nor the
            Superintendent, and are Not Redressable bv the Superintendent

         Assuming arguendo that Plaintiffs have shown injury-in-fact, they still lack standing to

 enjoin enforcement of the Rifle Law because any alleged injury is neither traceable to the

provisions of that statute or to the Superintendent, nor redressable by the Superintendent. Plaintiffs

 Giambalvo, Felice, and Olivieri’s alleged inability to purchase a semiautomatic rifle flows from

 SCPD’s purported lack of a licensing process for these firearms, as well as from their own refusal

to even attempt to apply for such a license. See Giambalvo Deck, f 15-17; Felice Deck, <|f16, 8;

 Olivieri Deck, If 10. Likewise, any injury to Plaintiff McGregor, who holds a handgun license,

 flows either from SCPD’s alleged refusal to issue him a distinct semiautomatic rifle license or

 from nonparty gun stores’ refusal to accept his handgun license as sufficient to purchase a

 semiautomatic rifle in accordance with the process announced by SCPD. See McGregeor Deck,

If 8-12,15-16. Since these purported injuries were not caused by any provision of the Rifle Law

 or by the Superintendent, Plaintiffs lack standing.

         Similarly, the Superintendent cannot redress these purported harms either, as he is not the

 licensing official for Suffolk County, supra n.3; meaning that he cannot cure SCPD’s purported

 lack of a licensing process or delays in processing applications, as he has no responsibility for

 creating or implementing such process.11 Nor can the Superintendent cure any purported injury

 suffered as a result of a nonparty gun store’s decision not to adhere to SCPD’s announced policies




 11 Under New York law, the Superintendent is a licensing officer only for retired members of the Division of State
 Police. See Penal Law §§ 265.00(10), 400.01(1); cf. Libertarian Party, 970 F.3d at 122 (licensing challenge only
 appropriate against defendants with a “role in the licensing process or in the consideration of the [plaintiffs’]
 applications”).

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 in selling a semiautomatic rifle to someone like McGregor, as the Superintendent has no control

 over a store’s decision as to who—or on what terms—they will sell firearms. Plaintiffs’ injuries,

 therefore, are not redressable by the Superintendent either, and this forms yet another independent

 bar to Article III standing in this case.12 See, e.g., Gazzola, 2022 U.S. Dist. Lexis 220168, *13

 (plaintiff challenging semiautomatic rifle licensing law “failed to establish how the [] county’s

 failure to issue semiautomatic rifle licenses is ‘fairly traceable to the challenged action’” of

 Superintendent Nigrelli).

 POINT II: THE SECOND AMENDMENT DOES NOT APPLY TO THE COMMERCIAL
 ACTIVITY OF PLAINTIFFS PARK STORM AND NEWMAN

         Plaintiff Dark Storm has no likelihood of success on the merits of its claims because the

 Second Amendment is an individual right to keep and bear arms, not a commercial or corporate

 right to sell them.13 This is evident not only by the express terms of the Second Amendment, but

 also by Supreme Court caselaw. See U.S. Const. Amend. II (“[a] well regulated Militia, being

 necessary to the security of a free State, the right of the people to keep and bear Arms, shall not be

 infringed.” (emphasis added)); Bruen, 142 S. Ct. at 2122 (Second Amendment right belongs to

 “ordinary, law abiding citizens>'> (emphasis added)); District of Columbia v. Heller, 554 U.S. 570,

 592 (2008) (Second Amendment right is an “individual right to possess and carry weapons in case

 of confrontation.” (emphasis added)); see also id. at 579 (“Nowhere else in the constitution does a

  ‘right’ attributed to ‘the people’ refer to anything other than an individual right.”); id. at 617 (“It

 was plainly the understanding in the post-Civil War Congress that the Second Amendment



 12 These arguments also foreclose Oliveri’s standing to challenge any registration requirement for semiautomatic
 rifles, as any such requirement is not mandatory or required under the licensing law itself, as compared to something
 purportedly imposed by the SCPD. This “injury” too, therefore, is similarly not traceable to or redressable by the
 Superintendent.
 13 Although Plaintiff Newman would have an individual right to purchase, sell and/or transfer personal firearms, there
 are no factual allegations in the Complaint or in the papers supporting this motion demonstrating that he has asserted
 an infringement of any such right.

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 protected an individual right to use armsfor self-defense.n (emphasis added)); see also Giambalvo,

 2023 U.S. Dist. Lexis 27304, at *12 (recognizing that the rights protected by the Second

 Amendment “are expressly limited” to “‘ordinary, law-abiding, adult citizens’” (quoting Bruen,

 142 S. Ct. at 2122)). And in Dark Storm’s case, a business organization manifestly falls outside

 of the definition of “the people.” See Gazzola, 2022 U.S. Dist. Lexis 220168, at *35 (“Plaintiffs

 fail to present any support for their contention that the individual right secured by the Second

 Amendment applies to corporations or any other business organizations. It does not.”).

        Federal courts both before and after Bruen have rejected the proposition that the Second

 Amendment creates a right to sell arms. See Heller, 554 U.S. at 626-27 (“[Njothing in our opinion

 should be taken to cast doubt on longstanding prohibitions on ... laws imposing conditions and

 qualifications on the commercial sale of arms.”); McDonald v. City ofChicago, 561 U.S. 742, 786

 (2010) (same); Bruen, 142 S. Ct. at 2162 (Kavanaugh, J., joined by Roberts, C.J., concurring)

 (same); see also Binderup v. Attorney General, 836 F.3d 336,343 (3d Cir. 2016) (“laws imposing

 conditions and qualifications on the commercial sale of arms .... comport with the Second

 Amendment because they affect individuals or conduct unprotected by the right to keep and bear

 arms.”), abrogated in part on other grounds by Bruen, 142 S. Ct. 2111; United States v. Tilotta,

 2022 U.S. Dist. Lexis 156715, at *15 (S.D. Cal. Aug. 30,2022) (“the natural reading of‘keep and

 bear arms’ does not include the ability to sell or transfer firearms unrestricted. Thus, the plain text

 of the Second Amendment does not cover [individual firearms dealer]’s proposed course of

 conduct”).

        Nor have Dark Storm and/or Newman shown a clear likelihood of success on a claim that

 the Rifle Law violates the Second Amendment rights of their customers/potential customers by

 preventing them from purchasing semiautomatic rifles. As a threshold matter, the only alleged



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customers identified are some of the other Plaintiffs, see Newman Decl., If 9; yet those individuals

have raised their own claims herein, making any derivative claim as to them purely duplicative.

As to other unspecified customers, firearm retailers remain open for business in New York State;

and those persons who wish to purchase arms remain free to do so, subject to reasonable

“conditions and qualifications.” Heller, 554 U.S. at 627.         Going further, Dark Storm and

Newman’s injuries are entirely self-inflicted in any event, as their decision to cease selling semi­

automatic rifles was not mandated by the Superintendent, and they freely admit that they have

resumed such sales. Newman Deck,           8, 10; see, e.g., Clapper v. Amnesty Inti. USA, 568 U.S.

398,416 (2013) (holding that litigants “cannot manufacture standing merely by inflicting harm on

themselves based on their fears of hypothetical future harm”).

       Most fundamentally, Dark Storm and Newman have not shown a clear likelihood of

succeeding on their claims because they have not shown that the Rifle Law meaningfully impairs

individual citizens’ ability to obtain firearms. A “law that regulates the availability of firearms is

not a substantial burden on the right to keep and bear arms if adequate alternatives remain for law-

abiding citizens to acquire a firearm for self-defense.” Decastro, 682 F.3d at 168; see Teixeira v.

County of Alameda, 873 F.3d 670, 678 (9th Cir. 2017) (holding that plaintiff failed to state a

plausible claim on behalf of potential customers where he did not adequately allege that challenged

ordinance impeded county residents from acquiring firearms); Dark Storm Indus. LLC v. Cuomo,

471 F. Supp. 3d 482,497-98 (N.D.N.Y. 2020) (collecting cases and finding no Second Amendment

violation even during pandemic shutdown of Dark Storm because “there appears to be no dispute

that alternatives remained for [Dark Storm’s customers] and others like them in New York to

acquire firearms for self-defense.”). Here, Dark Storm acknowledges that it continues to sell rifles

to licensed purchasers, Newman Decl. f 10, and statistics show that the firearms market in New



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York is in robust health, with 447,567 background checks conducted in connection with new sales

in 2022 and 63,471 in the first two months of 2023 alone. See FBI, NICS Firearm Background

Checks:     Month/Year      by     State,    available    at                https://www.fbi.gov/file-

repositorv/nics firearm checks - month year by state.pdf. Plaintiffs Newman and Dark Storm

have not put before the Court evidence that the Rifle Law “meaningfully inhibits residents from

acquiring firearms,” Teixeira, 873 F.3d at 680, and so any attempt to derivatively raise their
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customers’ Second Amendment rights must fail.

POINT III:  THE RIFLE LAW IS CONSTITUTIONAL AND. THEREFORE.
PLAINTIFFS HAVE NO CLEAR LIKELIHOOD OF SUCCESS ON THE MERITS OF
THEIR SECOND AMENDMENT CHALLENGE

       Plaintiffs raise a facial challenge to the Rifle Law as it amended various portions of the

Penal Law, repeatedly contending that the mere idea of a licensing requirement—as applied to

semiautomatic rifles—is repugnant to the Second Amendment.               See PI. MOL p.3.       Facial

challenges, however, “are generally disfavored.” Dickerson v. Napolitano, 604 F.3d 732, 741 (2d

Cir. 2010). To prevail, Plaintiff must show that “no set of circumstances exists under which the

Act would be valid.” United States v. Salerno, 481 U.S. 739, 745 (1987). Plaintiffs plainly fail to

meet this high bar.

       A. Bruen Holds That Shall-Issue Licensing Laws Like The Rifle Law Are
          Constitutional

       Plaintiffs cannot show a clear likelihood of success on the merits because no plausible

reading of Bruen suggests that licensing requirements are unconstitutional. See Giambaho, 2023

U.S. Dist. Lexis 27304, at *12-13. While Bruen struck down New York’s then-existing “proper

cause” requirement, it also emphasized that “[t]o be clear, nothing in our analysis should be

interpreted to suggest the unconstitutionality of the other 43 states’ ‘shall-issue’ licensing regimes,

under which a general desire for self-defense is sufficient to obtain a permit.” 142 S. Ct. at 2138


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n.9 (quotation omitted). Instead, as this Court unambiguously held in rejecting a challenge by two

of these same Plaintiffs against the State’s handgun licensing laws, “some things are beyond

dispute,” including that “certain state [firearm] licensing regimes are constitutionally permissible.”

Giambalvo, 2023 U.S. Dist. Lexis 27304, at * 12-13; accord Frey v. Nigrelli, 2023 U.S. Dist. Lexis

42067, at *34 (S.D.N.Y. Mar. 13, 2023) (“[n]othing in Bruen suggested that the Second

Amendment protects the right to carry a firearm without a license, and concurring opinions indicate

the opposite.”).        In reaching its conclusion, this Court quoted from Justice Kavanaugh’s

concurrence (joined by the Chief Justice) which recognized that the Bruen decision “does not

prohibit States from imposing licensing requirements” on the carrying of firearms. Frey, 2023

U.S. Dist. Lexis 42067, at *35.

         There is no reason why Bruen’s licensing holding would apply any differently to rifles than

to handguns, and Plaintiffs’ entirely conclusory arguments to the contrary are unavailing,

particularly when multiple other states require a form of license to purchase some or all

semiautomatic rifles.14 Plaintiffs have not put forward any reason why a licensing requirement to

purchase a semiautomatic rifle would offend the Second Amendment when a licensing

requirement to purchase a handgun does not, and several federal cases have found Bruen’s

endorsement of licensing laws to apply outside the handgun contest. Cf. Ore. Firearms Fed’n,

Inc. v. Brown, 2022 U.S. Dist. Lexis 219391, at *38 (D. Ore. Dec. 6, 2022) (upholding “Permit-




14 See, e.g., Conn. Gen. Stat. § 29.37p et seq. (discussing the requirements for a “long gun eligibility certificate”); 111.
Comp. Stat. ch. 430 § 65/2(a)(l) (“No person may acquire or possess any firearm... within this state” without a FOID
card from the state police); Haw. Rev. Stat. §§134-1, 134-2(a) (permit required to purchase any “firearm” which
includes “pistols, revolvers, rifles, shotguns . . .”); Mass. Gen. Laws. Ann. § 131E(a) (“rifles, shotguns and feeding
devices therefor may be so purchased only upon presentment of: a valid firearm identification card... a valid license
to carry firearms ... or valid proof of exempt status.”); N.J. Stat. Ann. § 2C:58-3(b)(l) (“A person shall not. . .
receive, purchase or otherwise acquire ... a rifle or shotgun . .. unless the purchaser . . . possesses a valid firearms
purchaser identification card . . .”); see also Wash. Rev. Code § 9.41.090(2)(b) (“no dealer may deliver a
semiautomatic assault rifle to the purchaser thereof until . . . [t]he dealer is notified in writing” by local or state
government “that the purchaser is eligible to possess a firearm.”).

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to-Purchase Provision” that applied to sales of all firearms because it was “based on objective

 standards and is therefore presumptively constitutional under the holding of Bruen.”); United

 States v. Saleem, 2023 U.S. Dist. Lexis 34566, at *29 n.9 (W.D.N.C. Mar. 2,2023) (finding based

 on licensing language in Bruen’s footnote nine that registration requirements of the National

 Firearms Act, which include inter alia short-barreled shotguns and short-barreled rifles, “are of

 the type that the Supreme Court in Bruen determined were permissible”). This point is particularly

 compelling as concerns Plaintiffs Giambalvo and McGregor, who have acknowledged in related

 litigation “that the State may maintain objective permitting standards,” effectively conceding that

 the mere idea of requiring a license to purchase or own a firearm is constitutionally permissible.

 Giambalvo, 2023 U.S. Dist. Lexis 27304, at * 13 (emphasis added). As a result, even if the Court

 were to excuse Plaintiffs’ complete lack of standing and look to the substantive issues in the

 Complaint, Plaintiffs’ facial challenge fails under the holding of Bruen itself, further foreclosing

 any entitlement to injunctive relief.

        B. The Rifle Law Is Supported By American Legal History And Tradition

        Although the Court can and should deny this motion based solely upon Bruen’s finding

 that licensing regimes are constitutionally permissible, the Rifle Law is manifestly constitutional

 even if the Court is inclined to examine it under the second Bruen prong. To pass muster at this

 stage, the State must identify one or more historical laws that are “relevantly similar” to the law

 being challenged. Bruen, 142 S. Ct. at 2132. “Such ‘analogical reasoning requires only that the

 government identify a well-established and representative historical analogue, not a historical twin.

 So even if a modern-day regulation is not a dead ringer for historical precursors, it still may be

 analogous enough to pass constitutional muster.’” Frey, 2023 U.S Dist. Lexis 42067, at *13

 (quoting Bruen, 142 S. Ct. at 2133). And in “cases implicating unprecedented societal concerns

 or dramatic technological changes” - such as the lethality of modem semiautomatic rifles, which
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had no parallel in the 18th or 19th Centuries - Bruen calls for “a more nuanced approach,” in

recognition of the fact that “[t]he regulatory challenges posed by firearms today are not always the

same as those that preoccupied the Founders in 1791 or the Reconstruction generation in 1868.”

142 S. CL at 2132.

        The Rifle Law comfortably passes this part of the Bruen test, as licensing has always been

a widespread regulatory tool used throughout America. See Frey, 2023 U.S. Dist. Lexis 42067, at

*36-*39. In Frey, the Honorable Nelson Roman recently found “an abundance of examples” in

the course of upholding the State statute providing for separate licensure in New York City, citing

dozens of historical licensing laws from New York State and around the nation. See id. In the

context of this case, the accompanying expert declaration from Professor Robert Spitzer provides

a detailed discussion of America’s long history of gun licensing, including in the context of long

guns, with supporting citations.

        As Professor Spitzer recounts, the primary focus of the states was initially on handguns

because they were the weapons that posed a threat to public safety during the 1700s through early

 1900s. Spitzer Deck, ]f 40. Once long guns appeared in civil society and started to pose a criminal

and public safety problem, however, states were quick to enact prohibitions and licensing

requirements, with long guns such as the Tommy gun, the BAR, and sawed-off shotgun (i.e., long

guns modified after purchase) being restricted in at least 32 states, and semi-automatic long guns

being restricted in up to 11 states, during the 1920s and early 1930s. Id. at 41.

        Before that, in the 1800s, 17 states—including New York—enacted laws requiring

 individuals to be licensed as a prerequisite to possessing or carrying a weapon. Id. at ^ 9. For

 example, shortly after the ratification of the Fourteenth Amendment, Missouri enacted a measure

to license the otherwise illegal practice of concealed carrying of handguns and other named



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weapons, including “any other dangerous or deadly weapon,” in St. Louis by means of “written

permission of the Mayor.” Id. at 115. As another example, under a New York City ordinance

enacted in 1881, a person who carried “a pistol of any description concealed on his person” could

be subject to criminal penalties unless he was issued a permit based on a finding that he was a

 “proper and law abiding person.” Id. at If 18. A few years later, a 1884 New York state law barred

the carrying or possession of named weapons by those under 18 years old unless they possessed a

license to do so. Licenses could only be granted for up to one year and were subject to revocation
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“at the pleasure of the mayor.” Id. at If 19. Then, in 1885, the law was extended to all cities in the

 state and to “any pistol or other firearms of any kind,” which would have included long guns. Id.

 In 1891, New York extended permitting to Buffalo, which covered handguns and other dangerous

 weapons. Id.

         Florida is another example of a state that enacted licensing laws in the 1800s. Under

 Florida’s 1893 law, it was unlawful to carry or own a Winchester or other repeating rifle “without

 first taking out a license from the County Commissioner....” Id. at 122. The law also specified

 that the applicant “shall give a bond running to the Governor of the State..., conditioned on the

 proper and legitimate use of the gun with sureties to be approved by the County Commissioners,”

 along with “a record of the name of the person taking out such license, the name of the maker of

 the firearm so licensed to be carried and the caliber and number of the same.” Id}5

          As Professor Spitzer further explains, from the 1700s to the 1860s, at least 13 states enacted

 laws to regulate, through licensing, the discharging of firearms, and these laws extended to all

 firearms, including both long guns and handguns. Id. at If 30. The earliest were in Pennsylvania,


 15 While Plaintiffs’ moving papers characterize the Florida law as a “outlier regulation,” citing an article authored by
 David Kopel, see PI. MOL, p.14 and n.24, Professor Spitzer ably refutes this claim in paragraphs 23-26 of his
 declaration, to which the Court is referred.


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and included, among others: a 1713 Philadelphia law penalizing various city activities, including

 “firing a Gun without a license”; a 1721 act pertaining to the entire colony that imposed penalties

 on specified activities, including firing “any gun or other fire arm,” without the “governor’s special

 license”; and a 1721 Philadelphia ordinance requiring a “governor’s special license” to prevent

 “mischief [that] may happen by shooting guns.” Id. Other states followed Pennsylvania’s lead,

 including, for instance, New Hampshire, which enacted a discharge permit system for Portsmouth

 in 1823, and New York, which enacted an 1824 law allowing Schenectady officials to grant

 permission for the discharge of guns. Id. at | 31. Between the end of the Civil War and 1900,

 another 20 states enacted laws regulating the discharge of firearms. Id.

         States also enacted licensing laws governing the commercial sale of firearms, including 16

 states that did so throughout the 1800s, and 9 states in the early 1900s. Id. at f 32. For example,

 in 1814, Illinois made it unlawful for whites to engage in commercial activities with Native

 Americans unless they obtained a license from the governor. Id.          Later, in 1914, a Chicago,

 Illinois ordinance imposed a licensing requirement both on persons seeking to sell concealable

 weapons and on those seeking to buy them. Id. As a further example, in 1854, California enacted

 a law requiring commercial shooting galleries in San Francisco to be licensed. Id.

         In addition, at least 15 states required those selling or otherwise transferring weapons to

 record and keep information about the buyer, with that information to be maintained and subject

 to possible later examination. Id. at f 34. For example, in 1885, Illinois enacted a registration

 requirement for weapons dealers requiring them to “keep a register of all such weapons sold or

 given away by them.” Id. at f 35.          With minor exceptions, this law was typical of such

 requirements, including those imposed in 1911 laws enacted by Colorado and New York. Id.




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         Ultimately, as Professor Spitzer explains, a comprehensive review of historical laws and

regulations reveals that, contrary to Plaintiffs’ contentions that licensing requirements are “wildly

inconsistent” with America’s historical tradition of firearms regulation, Complaint, 129 (emphasis

in original), in fact “licensing was an integral component” of that tradition. Spitzer Dec!., *1 41.

Indeed, “licensing and registration requirements were commonly and ubiquitously applied to guns

and other dangerous weapons”—not only to their sale, as provided for in the Rifle Law, but also

their use and mere ownership—and as particular kinds of firearms presented themselves as public

safety problems, a majority of the states acted swiftly to regulate and protect the health and safety

 of their citizens. Id. at   40-41. Accordingly, even if the Court was to look at the second prong

of the Bruen analysis, Plaintiffs’ arguments would fail on their substantive merits.

POINT IV: PLAINTIFFS HAVE NOT MADE A STRONG SHOWING OF IMMINENT
AND IRREPARABLE HARM FROM THE RIFLE LAW

         Notwithstanding Plaintiffs’ inability to show a likelihood of success on the merits of their

 claims, Plaintiffs’ unreasonable delay in bringing this motion separately negates any finding of

 imminent and irreparable harm, which “is the sine qua non for preliminary injunctive relief.” JBR,

Inc. v. Keurig Green Ml, Inc., 618 F. App’x 31, 33 (2d Cir. 2015) (summary order). To this end,

 a moving party must act diligently to enforce his rights since delay “undercuts the sense of urgency

 that ordinarily accompanies a motion for preliminary relief and suggests that there is, in fact, no

 irreparable harm.” Citibank, N.A. v. Citytrust, 756 F.2d 273, 277 (2d Cir. 1985) (internal quotes

 and cites omitted). Here, the Rifle Law was enacted on June 6, 2022; yet Plaintiffs waited until

 February 17, 2023 to bring the instant application, over eight months after the statute was enacted

 into law and over five months after it became effective. And despite their claims of grievous harm,

 Plaintiffs offer no reason or explanation for their months-long failures to act.




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        Even if this extensive delay could be excused, Plaintiffs have not demonstrated any

 imminent irreparable harm from the Rifle Law. To show irreparable harm, the moving party must

 demonstrate that his “injury is neither remote nor speculative, but actual and imminent.” Rodriguez

 ex rel. Rodriguez v. DeBuono, 175 F.3d 227,234 (2d Cir. 1999). Plaintiffs have not demonstrated

 that any provision of the Rifle Law will interfere with their right to bear arms; as again, they may

 continue using semiautomatic rifles they lawfully owned prior to the enactment of the Rifle Law,

 may continue to use semiautomatic rifles owned by family or friends, and may even continue to

 buy semiautomatic rifles after obtaining the requisite—and constitutionally permissible—license.

 POINT V: THE EQUITIES AND THE PUBLIC INTEREST FAVOR ALLOWING
 ENFORCEMENT OF THE RIFLE LAW

        In addressing the equities, “courts must balance the competing claims of injury and must

 consider the effect on each party of the granting or withholding of the requested relief.” Winter,

 555 U.S. at 24. Here, any injury to the individual Plaintiffs from the Rifle Law is negligible, as all

 of the individual plaintiffs besides Olivieri already own a rifle. See McGregor Dec. K 18;

 Giambalvo Dec. ^ 8; Felice Dec. ^ 4; see also Newman Dec. Yfl 3-5, meaning that their lack of

 licensure therefore, at most, is an impediment to buying more. And as to Olivieri, as explained

 supra at Point I, A, there is nothing to prevent him from continuing to share his father’s

 semiautomatic rifle, as he did before the Rifle Law’s enactment. See Olivieri Dec. f 5. Conversely,

 “[a]ny time a State is enjoined by a court from effectuating statutes enacted by representatives of

 its people, it suffers a form of irreparable injury,’ particularly where there would be ‘an ongoing

 and concrete harm to . .. public safety interests.” Maryland v. King, 567 U.S. 1301, 1303 (2012)

 (Roberts, C.J., in chambers). Without the Rifle Law, these dangerous weapons may end up in the

 hands of persons who should not have them, and those who may not be able to wield them

 responsibly. These significant public safety concerns weigh strongly against issuing an injunction.

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                                        CONCLUSION

       For the reasons set forth above, Plaintiffs’ motion for a preliminary injunction against the

Rifle Law should be denied.

Dated: Hauppauge, New York
       April 21, 2023                        LETITIA JAMES
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